                Case 3:21-md-02981-JD Document 804-1 Filed 11/16/23 Page 1 of 1
                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:             DEFENSE ATTORNEY:
 Hon. James Donato                        Lauren Moskowitz,                 Lauren Bell, Jonathan Kravis,
                                          Yonatan Even, Gary Bornstein,     Michelle Chiu, Brian Rocca,
                                          Brent Byars, Andrew Wiktor        Kuru Olasa, Kyle Mach,
                                                                            Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                         REPORTER(S):                      CLERK:
 11/16/2023                               Kelly Shainline                   Tracy Geiger

 PLF    DEF TIME
 NO.    NO. OFFERED            ID REC DESCRIPTION                                                 BY
                                      Jury excused for the day – Juror #5 stuck in traffic due to
                10:15 AM              protest on the Bay Bridge. Jury to return on Monday,
                                      November 20, 2023, at 9:00 a.m.
                                      Court in session; out of the presence of the jury.
                1:57 PM               Counsel will work out new schedule for witness Don
                                      Harrison.
                2:11 PM               Witness: John Kent Walker – Chief Legal Officer for Google Pltf
 8030                                       Previously admitted
 1                                          Previously admitted
                3:09 PM                     Cross-examination of John Kent Walker                       Deft
                                            Exhibit 8030 shown to witness
                                            Exhibit 10002 (previously admitted) shown to witness
                3:24 PM                     Witness excused.
                3:30 PM                     Court in recess.
